         Case 19-61085-jwc                      Doc 21             Filed 08/19/19 Entered 08/19/19 16:37:17                                     Desc Main
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   Fill in this information to identify your case:


   Debtor 1              Marquita                Lashawn                            Butler
                         First Name              Middle Name                      Last Name                                          : 214
   Debtor 2
                                                                                                                2N9 AUG 19 r,
   (Spouse, If filing)   First Name              Middle Name                      Last Name
                                                                                                                                        t
                                               Northern                                       Georgia
   United States Bankruptcy Court for the:                     District of
                           19-61085
   Case number
   (If known)                                                                                                                                    U   Check if this is an
                                                                                                                                                     amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/16

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:          Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        3 Married
        U Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?

        3 No
        U Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                Debtor 1:                                                    Dates Debtor 1         Debtor 2:                                          Dates Debtor 2
                                                                             lived there                                                               lived there

                                                                                                    U Same as Debtor 1                               U Same as Debtor 1

                                                                             From                                                                        From
                 Number               Street                                                            Number Street
                                                                             To                                                                          To




                 City                          State ZIP Code                                           City                 State ZIP Code

                                                                                                    [:-.1 Same as Debtor 1                           U Same as Debtor 1

                                                                             From                                                                        From
                 Number               Street                                                            Number Street
                                                                             To                                                                          To




                 City                          State ZIP Code                                           City                 State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin,)
        13 No
        U Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




   Part 2: Explain the Sources of Your Income

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Debtor 1       Marquita         Lashawn               Butler                                             Case number (If known)   19-61085
                First Name      Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     LI No
     a Yes. Fill in the details,
                                                           Debtor

                                                            Sources of Income            Gross income              Sources of income           Gross income
                                                            Check all that apply.        (before deductions and    Check all that apply.       (before deductions and
                                                                                         exclusions)                                           exclusions)

                                                            LI Wages, commissions,                                  O Wages, commissions,
           From January 1 of current year until                                          $ 24,000.00
                                                               bonuses, tips                                          bonuses, tips
           the date you filed for bankruptcy:
                                                            GI Operating a business                                 U Operating a business


            For last calendar year:                         a Wages, commissions,        $ 56,069.00
                                                                                                                    U Wages, commissions,
                                                             bonuses, tips                                             bonuses, tips
           (January 1 to December 31 2018               ) LI Operating a business                                   LI Operating a business
                                              YYYY



            For the calendar year before that:
                                                            0     Wages, commissions,                               U Wages, commissions,
                                                                  bonuses, tips          $ 81,231.00                  bonuses, tips
            (January 1 to December 31, 2017             ) 0       Operating a business                              U Operating a business
                                              YYYY



 5, Did you receive any other income during this year or the two previous calendar years?
    Include Income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     a No
     LI    Yes, Fill in the details.
                                                            Debtor 1

                                                            Sources of income            Gross income from           Sources of income         Gross income from
                                                            Describe below.              each source                 Describe below.           each source
                                                                                         (before deductions and                                (before deductions and
                                                                                         exclusions)                                           exclusions)



            From January 1 of current year until
            the date you filed for bankruptcy:




             For last calendar year:
            (January 1 to December 31
                                              YYYY




             For the calendar year before that:
             (January 1 to December 31,
                                              YYYY




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Debtor 1       Marquita          Lashawn                Butler                                      Case number Of known) 19-61085
               First Name        Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     0     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               O No. Go to line 7.

               O Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               *Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     a yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               La No. Go to line 7.

               O Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                      creditor. Do not include payments for domestic support obligations, such as child support and
                      alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of      Total amount paid        Amount you still owe    Was this payment for...
                                                                       payment


                                                                                                                                         Mortgage
                      Creditor's Name
                                                                                                                                         Car

                      Number     Street                                                                                               U Credit card
                                                                                                                                      U Loan repayment
                                                                                                                                      U Suppliers or vendors

                       City                    State       ZIP Code                                                                   U Other



                                                                                                                                      CI Mortgage
                       Creditor's Name
                                                                                                                                      0 Car
                       Number    Street
                                                                                                                                      0 Credit card
                                                                                                                                      0 Loan repayment
                                                                                                                                      CI Suppliers or vendors
                       City                    State        ZIP Code
                                                                                                                                      CI Other


                                                                                                                                      CI Mortgage
                       creditor's Name
                                                                                                                                      0 Car
                       Number    Street
                                                                                                                                      CI Credit card
                                                                                                                                         Loan repayment
                                                                                                                                      CI Suppliers or vendors
                       City                    State        ZIP Code
                                                                                                                                      0 Other



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 3
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Debtor 1        Marquita            Lashawn                Butler                                     Case number VI known) 19-61085
                    First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     3 No
           Yes. List all payments to an insider.
                                                                           Dates of   Total amount      Amount you still    Reason for this payment
                                                                           payment    paid              owe


            Insider's Name



            Number         Street




            City                                  State   ZIP Code




            Insider's Name


            Number         Street




            City                                  State   ZIP Code



  8 Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

     3   No
     1:1 Yes. List all payments that benefited an insider.
                                                                           Dates of    Total amount      Amount you still   Reason for this payment
                                                                           payment     paid              owe                Include creditors name


            Insider's Name



             Number        Street




             City                                 State   ZIP Code




             Insider's Name



             Number        Street




             City                                 State   ZIP Code




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Debtor 1        Marquita           Lashawn                    Butler                                          Case number (if known) 19-61085
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     •     No
     O Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                              Status of the case


            Case title                                                                                 Court Name
                                                                                                                                                      CI Pending
                                                                                                                                                      O On appeal
                                                                                                       Number    Street                               O Concluded

            Case number
                                                                                                       City                    State   ZIP Code




            Case title                                                                                 Court Name
                                                                                                                                                      O Pending
                                                                                                                                                      CI On appeal
                                                                                                       Number    Street                               O Concluded

            Case number
                                                                                                       City                    State   ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     El    No. Go to line 11.
     O Yes. Fill in the information below.

                                                                              Describe the property                                     Date        Value of the property



                 Creditor's Name



                 Number      Street                                           Explain what happened

                                                                              O    Property was repossessed.
                                                                              O    Property was foreclosed.
                                                                              O    Property was garnished.
                 City                               State   ZIP Code          O    Property was attached, seized, or levied.

                                                                              Describe the property                                     Date         Value of the propert)




                 Creditors Name



                 Number      Street
                                                                              Explain what happened

                                                                                   Property was repossessed.
                                                                                   Property was foreclosed.
                                                                                   Property was garnished.
                 City                               State   ZIP Code
                                                                                   Property was attached, seized, or levied.



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                   Marquita       Lashawn                     Butler                                                               19-61085
Debtor 1                                                                                                  Case number (if known)
                    First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?

     3 No
     O Yes. Fill in the details.

                                                                  Describe the action the creditor took                              Date action      Amount
                                                                                                                                     was taken
            Creditors Name



            Number      Street




            City                           State   ZIP Code       Last 4 digits of account number: XXXX-


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?

     a No
     O Yes


  Part 5:          List Certain Gifts and Contributions


 13, Within        2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           . No
     D      Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600           Describe the gifts                                                 Dates you gave      Value
             per person                                                                                                              the gifts




            Person to Wham You Gave the Gift




            Number       Street



            City                           State   ZIP Code


            Person's relationship to you


            Gifts with a total value of more than $600            Describe the gifts                                                 Dates you gave     Value
            per person                                                                                                               the gifts




            Person to Whom You Gave the Gift




            Number       Street



            City                           State   ZIP Code


            Person's relationship to you


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Debtor 1          Marquita          Lashawn                    Butler                                            Case number (If known) 19-61085
                    First Name      Middle Name              Last Name




 14.WithIn 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     13 No
     I:I Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                     Describe what you contributed                                         Date you
            that total more than $600                                                                                                     contributed




           Charity's Name




           Number        Street




           City            State     ZIP Code




 Part 6:            List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     3 No
     Li Yes. Fill in the details.

            Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                         loss              lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule A/13: Property.




                  List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     U     No
     ai Yes. Fill in the details.

                                                                     Description. and value of any property transferred                   Date payment or   Amount of payment
                                                                                                                                          transfer was
            Person Who Was Paid                                                                                                           made

             378 Summit Avenue                                       Bankruptcy Counseling                                                07/2019             14.95
             Number        Street


                                                                                                                                          08/2019             9.95

             Jersey City                 NJ       07306
             City                        State    ZIP Code

             www.debtorcc.org
             Email or website address


             Person Who Made the Payment, if Not You



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                Marquita           Lashawn                    Butler                                                                  19-61085
Debtor 1                                                                                                     Case number (If known)
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                   Date payment or      Amount of
                                                                                                                                        transfer was made    payment

           Person Who Was Paid



           Number        Street




           City                         State    ZIP Code




           Email or website address



           Person Who Made the Payment, if Not You



 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     la    No
     U Yes. Fill in the details.

                                                                    Description and value of any property transferred                   Date payment or     Amount of payment
                                                                                                                                        transfer was
                                                                                                                                        made
            Person Who Was Paid



            Number        Street




            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     •     No
     U Yes. Fill in the details.

                                                                    Description and value of property        Describe any property or payments received        Date transfer
                                                                    transferred                              or debts paid in exchange                         was made

           Person Who Received Transfer



           Number         Street




           City                         State    ZIP Code


           Person's relationship to you


           Person Who Received Transfer



           Number         Street




           City                         State    ZIP Code

           Person's relationship to you

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               Marquita            Lashawn                    Butler                                                                   19-61085
Debtor 1                                                                                                      Case number (if known)
                   First Name      Middle Name              Last Name




 19.11VithIn 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     ai No
     U Yes. Fill in the details.

                                                                    Description and value of the property transferred



           Name of trust




Ezzi          List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units
, 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     La No
     U Yes. Fill in the details.

                                                                    Last 4 digits of account number     Type of account or             Date account was       Last balance before
                                                                                                        instrument                     closed, sold, moved,   closing or transfer
                                                                                                                                       or transferred

            Name of Financial Institution
                                                                                                        U Checking

            Number        Street
                                                                                                        U Savings
                                                                                                         U Money market
                                                                                                         U Brokerage
            City                        State    ZIP Code
                                                                                                         U Other


                                                                                                         U Checking
            Name of Financial institution
                                                                                                         U Savings

            Number        Street                                                                         U Money market
                                                                                                         U Brokerage
                                                                                                         U Other
            City                        State    ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
     U No
     U Yes. Fill in the details.
                                                                        Who else had access to it?                  Describe the contents                              Do you still
                                                                                                                                                                       have it?

                                                                                                                                                                   :   U   No
            Name of Financial institution                           Name
                                                                                                                                                                       U Yes


            Number        Street                                    Number     Street


                                                                    City         State      ZIP Code

            City                        State    ZIP Code



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                  Marquita         Lashawn                    Butler                                                                            19-61085
Debtor 1                                                                                                               Case number cif imatem
                   First Name      Middle Name              Last Name




22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
      ai No
      U Yes. Fill in the details.
                                                                   Who else has or had access to it?                         Describe the contents                  Do you still
                                                                                                                                                                    have It?

                                                                                                                                                                     U No
            Name of Storage Facility                               Name
                                                                                                                                                                     U Yes

            Number       Street                                    Number    Street



                                                                   City State ZIP Code


            City                        State    ZIP Code



 Part 9:             Identify Property You Hold or Control for Someone Else

 31.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.
       3   No
      U Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property               Value


            Owner's Name


                                                                  Number    Street
            Number        Street




                                                                  City                            State     ZIP Code
            City                        State     ZIP Code


 Part 10:            Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
    utilize it or used to own, operate, or utilize it, including disposal sites.

  ✓    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

       3 No
       U Yes. Fill in the details.
                                                                   Governmental unit                            Environmental law, if you know it               Date of notice



           Name of site                                           Governmental unit


           Number       Street                                    Number    Street


                                                                  City                   State   ZIP Code



           City                        State     ZIP Code




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                Marquita           Lashawn                  Butler                                                                              19-61085
Debtor 1                                                                                                               Case number (If known)
                   First Name      Middle Name          Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     El No
     U Yes. Fill in the details.
                                                               Governmental unit                                   Environmental law, if you know it                     Date of notice



            Name of site                                      Governmental unit


            Number        Street                              Number         Street



                                                              City                      State    ZIP Code

            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     3     No
     U Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                                                                                                                          U   Pending
                                                                    Court Name
                                                                                                                                                                          U   On appeal

                                                                    Number     Street                                                                                     U   Concluded


           Case number                                              City                        State   ZIP Code


 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           U A member of a limited liability company (LLC) or limited liability partnership (LLP)
           U A partner in a partnership
           U An officer, director, or managing executive of a corporation
           U An owner of at least 5% of the voting or equity securities of a corporation

     di No. None of the above applies. Go to Part 12.
     U Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer identification number
                                                                                                                                       Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                        EIN:
            Number        Street
                                                                    Name of accountant or bookkeeper                                    Dates business existed


                                                                                                                                        From               To
            City                        State    ZIP Code
                                                                    Describe the nature of the business                                 Employer Identification number
                                                                                                                                        Do not include Social Security number or MN.
            Business Name

                                                                                                                                        EIN:
            Number        Street
                                                                    Name of accountant or bookkeeper                                    Dates business existed



                                                                                                                                        From               To
            City                        State    ZIP Code


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              Marquita            Lashawn                  Butler                                                                   19-61085
Debtor 1                                                                                                   Case number (if !mown)
                  Flret Name      Middle Name          Last Name




                                                               Describe the nature of the business                         Employer identification number
                                                                                                                           Do not include Social Security number or !TIN.
           Business Name
                                                                                                                           EIN:

           Number        Street
                                                               Name of accountant or bookkeeper                            Dates business existed



                                                                                                                           From                To
           City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     3 No
     U Yes. Fill In the details below.

                                                               Date issued



           Name                                                MM! DD / YYYY



           Number        Street




           City                        State    ZIP Code




                  Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.



       X1/47,1                                             /1711-ee            X
           Signature of Debtor 1                                                   Signature of Debtor 2


           Date el/ Vi                                                             Date
       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)7

       11 No
       U    Yes


       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       3   No
       U   Yes. Name of person                                                                                   . Attach the Bankruptcy Petition Preparers Notice,
                                                                                                                   Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

                     Marquita                       Lashawn                   Butler
 Debtor 1
                    First Name                      Middle Name              Last Name

 Debtor 2
 (Spouse, If filing) First Name                     Middle Name              Last Name


 United States Bankruptcy Court for the:            Northern District of                 Georgia

 Case number           19-61085
                                                                                                                                                U Check if this is an
  (If known)
                                                                                                                                                  amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so Is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      M You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      CI You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on              Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                      portion you own
                                                                  Copy the value from      Check only one box for each exemption.
                                                                  Schedule NB

      Brief                                                                                                                         44-13-100(a)(1)
                                  Residence                       $ 46,142.00              Ea $ 20,000.00
      description:
                                                                                            0 100% of fair market value, up to
      Line from
      Schedule A/B:                1.1                                                        any applicable statutory limit


      Brief                                                                                                                         44-13-100(a)(3)
                                  Vehicle                         $ 818.00                   J $ 818.00
      description:
                                                                                            0 100% of fair market value, up to
      Line from                   3
      Schedule A/B:                                                                           any applicable statutory limit

      Brief                                                                                                                         44-13-100(a)(4)
                                  Household items                 $ 950.00                   I $ 950.00
      description:
                                                                                               100% of fair market value, up to
      Line from
      Schedule A/B:                6                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
      0    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           L:1    No
            CI    Yes



Official Form 106C                                                Schedule C: The Property You Claim as Exempt                                           page 1 of 2
      Case 19-61085-jwc                       Doc 21     Filed 08/19/19 Entered 08/19/19 16:37:17                                     Desc Main
                                                        Document      Page 14 of 24
Debtor 1      Marquita          Lashawn            Butler                                        Case number (f knows)   19-61085
             First Name         Middle Name      Last Name




 Part 2:     Additional Page

      Brief description of the property and line         Current value of the   Amount of the exemption you claim            Specific laws that allow exemption
      on Schedule A/B that lists this property           portion you own
                                                         Copy the value from    Check only one box for each exemption
                                                         Schedule NB

     Brief                                                                                                                  44-13-100(a)(4)
                          Electronics                    $ 1,000.00                 $ 1,000.00
     description:
     Line from            7
                                                                                0   100% of fair market value, up to
     Schedule A/B:                                                                  any applicable statutory limit

     Brief                                                                                                                  44-13-100(a)(4)
     description:
                          Clothes                        $ 500.00                   $   500.00

     Line from
                                                                                0 100% of fair market value, up to
                           11                                                       any applicable statutory limit
     Schedule A/B:

     Brief
     description:                                                                   $

     Line from
                                                                                0   100% of fair market value, up to
     Schedule A/B:                                                                  any applicable statutory limit

     Brief
     description:                                                                   $

     Line from
                                                                                0   100% of fair market value, up to
     Schedule A/B:                                                                  any applicable statutory limit

     Brief
     description:                                                               Us
                                                                                U 100% of fair market value, up to
     Line from
     Schedule A/B:                                                                any applicable statutory limit


     Brief
     description:                                                                   $

     Line from
                                                                                0   100% of fair market value, up to
     Schedule A/B:                                                                  any applicable statutory limit


     Brief
     description:                                                                   $

     Line from
                                                                                0   100% of fair market value, up to
     Schedule A/B:                                                                  any applicable statutory limit

     Brief
     description:                                                               Us
                                                                                Li 100% of fair market value, up to
     Line from
     Schedule A/B:                                                                 any applicable statutory limit


     Brief
     description:                                                                   $
                                                                                    100% of fair market value, up to
     Line from
     Schedule A/B:                                                                  any applicable statutory limit


     Brief
     description:                                                                   $

     Line from
                                                                                0 100% of fair market value, up to
                                                                                    any applicable statutory limit
     Schedule A/B:
     Brief
     description:                                                                   $

     Line from
                                                                                0 100% of fair market value, up to
                                                                                    any applicable statutory limit
     Schedule A/B:

     Brief
     description:                                                                   $

     Line from
                                                                                CI 100% of fair market value, up to
     Schedule A/B:                                                                  any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                          page 2 of 2
      Case 19-61085-jwc                      Doc 21         Filed 08/19/19 Entered 08/19/19 16:37:17                                             Desc Main
                                                           Document      Page 15 of 24

 Fill in this information to identify your case:


 Debtor 1             Marquita             Lashawn                Butler
                     Fast Name               Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name           Last Name

                                           Northern                District of     Georgia
 United States Bankruptcy Court for the:
                                                                                     (State)

 Case number          19-61085
                                                                                                               Check if this is:
 (If known)
                                                                                                                ZI An amended filing
                                                                                                               LI A supplement showing postpetition chapter 13
                                                                                                                   income as of the following date:
Official Form 1061                                                                                                 MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1.   Fill in your employment
     information.                                                        Debtor 1                                              Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional           Employment status          a Employed                                              U Employed
     employers.                                                        U Not employed                                          U Not employed

     Include part-time, seasonal, or
     self-employed work.                                             RN Nurse
                                            Occupation
     Occupation may include student
     or homemaker, if it applies.
                                                                     Eastside Medical Center
                                            Employer's name


                                            Employer's address       1700 Medical Way
                                                                      Number Street                                          Number         Street




                                                                     Snellyille                GA        30078
                                                                     City                       State   ZIP Code             City                    State ZIP Code

                                            How long employed there?             2 weeks



1:=                Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.                 2,          3,840.00
                                                                                                        $

  3. Estimate and list monthly overtime pay.                                                    3. +$                        + $


  4. Calculate gross income. Add line 2 + line 3.                                               4.      $ 3,840.00                 $ 0.00




Official Form 1061                                               Schedule I: Your Income                                                                   page 1
        Case 19-61085-jwc                    Doc 21        Filed 08/19/19 Entered 08/19/19 16:37:17                                    Desc Main
                                                          Document      Page 16 of 24
                  Marquita     Lashawn              Butler                                                                19-61085
Debtor 1                                                                                         Case number (if known)
                  First Name   Middle Name         Last Name



                                                                                                For Debtor 1              For Debtor 2 or
                                                                                                                          non-filing spouse
                                                                                                $ 3,840.00                  $ 0.00
      Copy line 4 here                                                               4   4,


    5. List all payroll deductions:

       5a. Tax, Medicare, and Social Security deductions                                 5a.    $ 808.00                    $
       5b. Mandatory contributions for retirement plans                                  5b.    $                           $
       5c. Voluntary contributions for retirement plans                                  5c.    $                           $
       5d, Required repayments of retirement fund loans                                  5d.    $                           $
       5e, Insurance                                                                     5e.    $                           $
       51, Domestic support obligations                                                  5f.    $                           $

        5g. Union dues                                                                   5g.    $                           $

        511. Other deductions. Specify:                                                  5h. +$                           + $
                                                                                                    808.00                      0.00
    6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.       6.     $                           $

                                                                                         7.         3,032.00                    0.00
    7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                      $


    8. List all other income regularly received:
        8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                   $ 1,896.00
            monthly net income.                                                          8a.
        8b, Interest and dividends                                                       8b.    $
        8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement,                                  Sc.
        8d. Unemployment compensation                                                    8d.    $
        8e. Social Security                                                              8e.    $

        8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                  8f.

        8g. Pension or retirement income                                                 8g.

        8h. Other monthly income. Specify:                                               8h. +$                           +$

     9. Add all other income. Add lines 8a + 8b + 8c + 8d + Be + 8f +8g + 8h.             9.    $ 1,896.00                  $ 0.00


    10. Calculate monthly income. Add line 7 + line 9.                                              4' 928 00                   0.00                4' 928'00
                                                                                                $                                               $
1       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.

111,   State all other regular contributions to the expenses that you list in Schedule J
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       Specify:                                                                                                                           11.   $

    12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                           4,928.00
        Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                12.   $
                                                                                                                                                Combined
                                                                                                                                                monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
        0   No.
        U   Yes. Explain:


     Official Form 1061                                             Schedule I: Your Income                                                         page 2
        Case 19-61085-jwc                    Doc 21            Filed 08/19/19 Entered 08/19/19 16:37:17                                              Desc Main
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  Fill in this information to identify your case:

  Debtor 1            Marguita                Lashawn                    Butler
                      First Name                Middle Name               Last Name                            Check if this is:
  Debtor 2                                                                                                     C:1An amended filing
  (Spouse, if tiling) First Name                Middle Name               Last Name
                                                                                                               U A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the:   Northern                      District of
                                                                                         Georgia
                                                                                                                 expenses as of the following date:
                                                                                        (State)
                      19-61085
  Case number                                                                                                      MM / DD / YYYY
  (If known)


Official Form 106J
Schedule J: Your Expenses                                                                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

I. Is this a joint case?

   3     No. Go to line 2.
   0 Yes. Does Debtor 2 live in a separate household?
          0 No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  CI No                                           Dependent's relationship to                  Dependent's       Does dependent live
   Do not list Debtor 1 and                 3     Yes. Fill out this information for        Debtor 1 or Debtor 2                         age               with you?
   Debtor 2.                                      each dependent
                                                                                           Son                                       11                       No
   Do not state the dependents'
   names.                                                                                                                                                     Yes
                                                                                           Son                                       7                        No
                                                                                                                                                              Yes
                                                                                                                                                              No
                                                                                                                                                              Yes

                                                                                                                                                              No
                                                                                                                                                              Yes

                                                                                                                                                              No
                                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                            3 No
   yourself and your dependents?                  Yes


Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule!: Your Income (Official Form 1061.)                                                        Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                              1' 437 00
                                                                                                                                           $
    any rent for the ground or lot.                                                                                            4.

       If not included in line 4:
       4a,   Real estate taxes                                                                                                 48.

       4b.   Property, homeowner's, or renter's insurance                                                                      4b.

       4c.   Home maintenance, repair, and upkeep expenses                                                                     4c.         $ 75.00

       4d. Homeowner's association or condominium dues                                                                         4d.         $ 21.00


  Official Form 106J                                             Schedule J: Your Expenses                                                                       page 1
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                  Marquita       Lashawn          Butler                                                                19-61085
 Debtor 1                                                                                 Case number (if known)
                  First Name     Middle Name      Last Name




                                                                                                                             Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                     5.

 6. Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.      $ 375.00
                                                                                                                            $ 150.00
       6b. Water, sewer, garbage collection                                                                        6b.
                                                                                                                            $ 350.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.

       6d. Other. Specify:                                                                                         6d.      $

 7. Food and housekeeping supplies                                                                                 7.       $ 725.00
                                                                                                                                346.00
 8, Childcare and children's education costs                                                                       8.       $

 9. Clothing, laundry, and dry cleaning                                                                            9.       $ 110.00

10. Personal care products and services                                                                            10.      $ 75.00
                                                                                                                            $ 50.00
11, Medical and dental expenses                                                                                    11.

12. Transportation. Include gas, maintenance, bus or train fare.                                                            $ 110.00
    Do not include car payments,                                                                                   12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.      $

14,    Charitable contributions and religious donations                                                            14.      $

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20,

       15a. Life insurance                                                                                         15a.     $

       151). Health insurance                                                                                      15b      $

       15c. Vehicle insurance                                                                                      15c.         280.00
                                                                                                                            $
       15d. Other insurance. Specify:                                                                              15d      $


16,    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16

17. Installment or lease payments:

       17a, Car payments for Vehicle 1                                                                             17a

       17b. Car payments for Vehicle 2                                                                             17b.

       17c. Other, Specify:                                                                                        17c,

       17d. Other, Specify:                                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule!, Your Income (Official Form 1061).                                                18
                                                                                                                            $

19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                     19.     $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule      Your Income.

        20a. Mortgages on other property                                                                           20a.

        20b. Real estate taxes                                                                                     20b.     $

        20c. Property, homeowner's, or renter's insurance                                                          20c.     $

        20d. Maintenance, repair, and upkeep expenses                                                              20d.     $

        20e. Homeowner's association or condominium dues                                                           20e.



      Official Form 106J                                      Schedule J: Your Expenses                                                      page 2
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Debtor 1       Marquita       Lashawn               Butler                                 Case number Of known) 19-61085
               Feel Name     Middle Name        Last Name




21, Other, Specify:                                                                                            21.   +$


22, Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                             22a.     $ 4,104.00

    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                     22b.

    22c. Add line 22a and 22b. The result is your monthly expenses,                                          22c.     $ 4,104.00




23.Calculate your monthly net income.
                                                                                                                            4' 928 00
   23a.    Copy line 12 (your combined monthly income) from Schedule!.                                        23a.     $

   23b,    Copy your monthly expenses from line 22c above.                                                    23b      $ 4,104.00

   23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                            824.00
           The result is your monthly net income.                                                             23c.     $




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

   For example, do you expect to finish paying for your car loan within the year or do you expect your
   mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   La   No.
   CI   Yes.     Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                  page 3
           Case 19-61085-jwc                  Doc 21          Filed 08/19/19 Entered 08/19/19 16:37:17                               Desc Main
                                                             Document      Page 20 of 24


     Fill in this information to identify your case:


     Debtor I          Marguita                 Lashawn               Butler
                           First Name          Middle Name            Last Name

     Debtor 2
     (Spouse, if filing)   First Name          Middle Name            Last Name


     United States Bankruptcy Court for the: Northern                 District of Georgia
                                                                                  (state)
     Case number 19-61085                                                                                                                    Check if this is an
                           (If known)
                                                                                                                                             amended filing




    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                           12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    Information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.


•     T&             Summarize Your Assets


                                                                                                                                    Your assets
                                                                                                                                    Value of what you own
    1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                        $ 46,142.00
        la, Copy line 55, Total real estate, from Schedule NB


        1b.Copy line 62, Total personal property, from Schedule A/B                                                                     $ 3,268.00


        1c.Copy line 63, Total of all property on Schedule A/B                                                                              49' 410 00
                                                                                                                                        $



On                  Summarize Your Liabilities



                                                                                                                                     Your liabilities
                                                                                                                                    Amount you owe
    2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                        $ 183,153.82
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

    3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                        $ 3,484.04
       3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

        3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F
                                                                                                                                    + $ 52, 667.76


                                                                                                                                            239,305.62
                                                                                                           Your total liabilities       $



                    Summarize Your Income and Expenses


    4. Schedule!: Your Income (Official Form 1061)                                                                                          4,928.00
       Copy your combined monthly income from line 12 of Schedule I                                                                     $


    5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                        $ 4104.00
       Copy your monthly expenses from line 22c of Schedule J




    Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                      page 1 of 2
      Case 19-61085-jwc                      Doc 21          Filed 08/19/19 Entered 08/19/19 16:37:17                                Desc Main
                                                            Document      Page 21 of 24

Debtor 1        Marquita       Lashawn             Butler                                        Case number ((k...)   19-61085
                 First Name    Middle Name         Last Name




Mia            Answer These Questions for Administrative and Statistical Records

6, Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules,
       Yes


7. What kind of debt do you have?

    la Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
       family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

    D Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
      this form to the court with your other schedules,



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14,




9, Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                         Total claim


     From Part 4 on Schedule E/F, copy the following:


                                                                                                         $ 0.00
    9a. Domestic support obligations (Copy line 6a.)

                                                                                                         $ 3,484.04
    9b. Taxes and certain other debts you owe the govemment. (Copy line 6b,)


    9c. Claims for death or personal injury while you were intoxicated. (Copy line Sc.)                  $ 0.00


                                                                                                         $ 24,271.00
    9d. Student loans. (Copy line 6f.)


    9e, Obligations arising out of a separation agreement or divorce that you did not report as              0.00
        priority claims. (Copy line 6g.)

                                                                                                         $ 0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)


    9g. Total. Add lines 9a through 9f.                                                                      27' 755' 04
                                                                                                         $




    Official Form 106Sum                     Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
        Case 19-61085-jwc                     Doc 21          Filed 08/19/19 Entered 08/19/19 16:37:17                               Desc Main
                                                             Document      Page 22 of 24
  Fill in this information to identify your case:                                                                Check as directed in lines 17 and 21:
                                                                                                                 According to the calculations required by
  Debtor 1             Marquita                 Lashawn              Butler                                      this Statement:
                     First Name                Middle Name          Last Name

  Debtor 2                                                                                                       •   1. Disposable income is not determined
  (Spouse, If filing) First Name               Middle Name          Last Name                                           under 11 U.S.C. § 1325(b)(3).

  United States Bankruptcy Court for the:    Northern               District of Georgia                          U 2. Disposable income is determined
                                                                                (State)                               under 11 U.S.C. § 1325(b)(3).
  Case number              19-61085
  (If known)                                                                                                     LI 3. The commitment period is 3 years.
                                                                                                                 U 4. The commitment period is 5 years.


                                                                                                                 U Check if this is an amended filing



Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate, If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


                 Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
   U Not married. Fill out Column A, lines 2-11.
   LI Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                      Column A           Column B
                                                                                                      Debtor 1           Debtor 2 or
                                                                                                                         non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).

3. Alimony and maintenance payments. Do not include payments from a spouse.

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Do not include payments from a spouse. Do not include payments you
   listed on line 3.

5. Net income from operating a business, profession, or
                                                                  Debtor .)        Debtor 2
   farm
                                                                    $ 4428.00$
   Gross receipts (before all deductions)

   Ordinary and necessary operating expenses                      — $ 2 532.00$

                                                                                              Copy
   Net monthly income from a business, profession, or farm          $ 1,896.00$               here+   $ 1,896.00


6. Net income from rental and other real property                 Debtor 1         Debtor 2

   Gross receipts (before all deductions)

   Ordinary and necessary operating expenses                      — $            — $
                                                                                              Copy
   Net monthly income from rental or other real property                                      here4   $



 Official Form 122C-1                 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                         page 1
       Case 19-61085-jwc                    Doc 21        Filed 08/19/19 Entered 08/19/19 16:37:17                                      Desc Main
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 Debtor 1       Marquita       Lashawn            Butler                                      Case number   if known)
                                                                                                                           19-61085
                First Name    Middle Name        Last Name




                                                                                           Column A                      Column B
                                                                                           Debtor 'I                     Debtor 2 or
                                                                                                                         non-filing spouse

7. Interest, dividends, and royalties

8. Unemployment compensation
   Do not enter the amount if you contend that the amount received was a benefit under
   the Social Security Act. Instead, list it here:

      For you
      For your spouse

9. Pension or retirement income. Do not include any amount received that was a
   benefit under the Social Security Act.

10.Income from all other sources not listed above. Specify the source and amount.
    Do not include any benefits received under the Social Security Act or payments
    received as a victim of a war crime, a crime against humanity, or international or
    domestic terrorism. If necessary, list other sources on a separate page and put the
    total below.




     Total amounts from separate pages, if any.


11. Calculate your total average monthly income. Add lines 2 through 10 for each
    column, Then add the total for Column A to the total for Column B.                       $    1,896.00                                           $   1,896.00
                                                                                                                                               =
                                                                                                                                                      Total average
                                                                                                                                                      monthly Income




Part 2:        Determine How to Measure Your Deductions from Income

12.Copy your total average monthly income from line 11.                                                                                        $      1,896.00
13. Calculate the marital adjustment. Check one:

       You are not married. Fill in 0 below.

       You are married and your spouse is filing with you. Fill in 0 below.
       You are married and your spouse is not filing with you.
        Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
        you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than
        you or your dependents.
        Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
        list additional adjustments on a separate page.

        If this adjustment does not apply, enter 0 below.




       Total
                                                                                                                        Copy here   4

14, Your current monthly income. Subtract the total in line 13 from line 12.                                                                       $ 1, 896• 00


15. Calculate your current monthly income for the year. Follow these steps:

   15a. Copy line 14 here                                                                                                                      $      1.896.00
          Multiply line 15a by 12 (the number of months in a year).                                                                            x 12
                                                                                                                                               $      22,752.00
   15b.The result is your current monthly income for the year for this part of the form.
                                                                                                                                             ---------------
 Official Form 122C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                     page 2
       Case 19-61085-jwc                         Doc 21      Filed 08/19/19 Entered 08/19/19 16:37:17                                  Desc Main
                                                            Document      Page 24 of 24
 Debtor 1         Marquita          Lashawn         Butler                                         Case number orkiciivo   19-61085
                 First Name        Middle Name      Last Name




16. Calculate the median family Income that applies to you. Follow these steps:
   16a, Fill in the state in which you live.                         GA

   16b, Fill in the number of people in your household.              4


    16c, Fill in the median family income for your state and size of household.                                                                   72' 594 00
                                                                                                                                             $
         To find a list of applicable median income amounts, go online using the link specified in the separate
         instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.al Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
           11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2),

    17b.U      Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
               11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
               On line 39 of that form, copy your current monthly income from line 14 above.


                 Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)


18,Copy your total average monthly income from line 11.                                                                                           1 896.00
                                                                                                                                              $    '
19, Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
    calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's income, copy
    the amount from line 13.
    19a, If the marital adjustment does not apply, fill in 0 on line 19a.
                                                                                                                                          —$
   19b, Subtract line 19a from line 18.                                                                                                       $ 1,896.00

20. Calculate your current monthly income for the year. Follow these steps:

   20a. Copy line 19b                                                                                                                        $    1,896.00

            Multiply by 12 (the number of months in a year).                                                                              x 12
   20b. The result is your current monthly income for the year for this part of the form.                                                    $    22,752.00 1

   20c.Copy the median family income for your state and size of household from line 16c
                                                                                                                                             $    72,594.00_

21, How do the lines compare?

   a Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
       The commitment period is 3 years. Go to Part 4.
       Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
       check box 4, The commitment period is 5 years. Go to Part 4.


               Sign Below


               By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.



                   Signature of Debtor 1                                                    Signature of Debtor 2


                   Date       08/19/2019                                                    Date
                          MM/DO / YYYY                                                             MM/ DD      / YYYY


               If you checked 17a, do NOT fill out or file Form 122C-2,
               If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



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